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                     EXHIBIT 108
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 1      IN THE UNITED STATES DISTRICT COURT
       FOR THE SOUTHERN DISTRICT OF NEW YORK
 2
       GOVERNMENT OF THE      :
 3     UNITED STATES VIRGIN   :
       ISLANDS,               :                CASE NO.
 4                            :                1:22-CV-10904
       Plaintiff,             :                -JSR
 5                            :
             v.               :
 6                            :
       JPMORGAN CHASE BANK,   :
 7     N.A.,                  :
                              :
 8     Defendant/Third Party :
       Plaintiff.             :
 9     ______________________ :
       JPMORGAN CHASE BANK,   :
10     N.A.,                  :
                              :
11     Third Party Plaintiff, :
                              :
12           v.               :
                              :
13     JAMES EDWARD STALEY,   :
                              :
14     Third Party Defendant. :
15      CONFIDENTIAL - ATTORNEYS' EYES ONLY
                       - - -
16                   May 3, 2023
                       - - -
17
                       Videotaped deposition
18   of WILLIAM D. LANGFORD, taken pursuant to
     notice, was held at the law offices of
19   Boies Schiller Flexner LLP, 55 Hudson
     Yards, New York, New York, and remotely,
20   beginning at 9:37 a.m., on the above
     date, before Michelle L. Gray, a
21   Registered Professional Reporter,
     Certified Shorthand Reporter, Certified
22   Realtime Reporter, and Notary Public.
23             GOLKOW LITIGATION SERVICES
              877.370.3377 ph| 917.591.5672
24                   deps@golkow.com

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 1   that -- that is a fair characterization
 2   of the initiative?
 3              A.       Yes.
 4              Q.       Okay.      Okay.      You can put
 5   that aside.
 6                       In looking at the
 7   transactional activity associated with
 8   human trafficking.             Would you agree that
 9   cash is an important red flag of
10   potential trafficking?
11                       MR. KRAUSE:          Objection.
12                       THE WITNESS:          So, again, I
13              need to go back to what we were
14              looking at.         The cash components
15              of it, we were focused,
16              appropriately so, on the business
17              of trafficking.            That is, people
18              who set up the criminal enterprise
19              to capture, imprison, move, and
20              sell the services, right, and
21              generate the criminal proceeds,
22              just like drug trafficking.
23                       So what we -- what we
24              focused on, you know, it wasn't --

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 1              the cash usage actually wasn't all
 2              that helpful, but it was, rather,
 3              other indicia that we actually
 4              found where you could start to
 5              link it to people who were
 6              promoting the trafficking, the
 7              prostitution for example, using
 8              otherwise benign retail accounts.
 9              That was really the focus -- ended
10              up finding, I should say.
11   BY MS. SINGER:
12              Q.       Okay.      And so, again, I want
13   to focus not just on what you were doing,
14   what you were implementing at JPMorgan in
15   the human trafficking initiative, but
16   kind of the learnings that cash is
17   specifically suggestive of human
18   trafficking.
19                       Do you agree with that
20   statement?
21                       MR. KRAUSE:          Objection.
22                       THE WITNESS:          So again,
23              partially.         What we were looking
24              for, what I really wanted to find,

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 1   derogatory information and identifiable
 2   activity, this was identifiable activity
 3   related to the information that was
 4   available on Jeffrey Epstein's conduct,
 5   correct?
 6                       MR. GAIL:         Objection.
 7                       THE WITNESS:          Yeah, so I
 8              have to say, I've not seen an
 9              instance where, in response to
10              negative media, we would have
11              pulled an affidavit like this.
12              Doesn't mean it doesn't happen.
13              I'm saying that's not typically
14              what I would have done as an
15              investigator, but I've never been
16              an investigator.            So I've not seen
17              it in the context of the
18              investigations done.
19                       Is it relevant.            Everything
20              is relevant when you're assessing
21              conduct.        But at the end of the
22              day, the question of using the
23              bank to conduct the activity,
24              spending money, sure, I'd like to

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 1              know.
 2                       But at the end of the day,
 3              withdrawal of cash is a withdrawal
 4              of cash.        And so especially small
 5              dollars, wealthy people withdraw
 6              cash.      They do a lot of different
 7              things.
 8                       So it's in contrast,
 9              perhaps, to the receipt of
10              information, the criminal
11              enterprise like we talked about.
12              So it presents more of a
13              challenge.
14                       MS. SINGER:          So move to
15              strike that answer.
16   BY MS. SINGER:
17              Q.       I appreciate it.             But I
18   think it was different than my question.
19                       And I want to ask the
20   question again, which is, the fact that
21   Jeffrey Epstein, from whatever source,
22   right, The New York Times article, the
23   supporting documents, was known to pay
24   cash to girls who he was sexually abusing

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 1   customer, shortly before the break.
 2                       So if corporate compliance
 3   or AML Ops wanted -- wanted Epstein
 4   terminated, and the Private Bank
 5   disagreed, what would happen?
 6              A.       So to answer that question,
 7   we need to distinguish.
 8                       In the context of a question
 9   of reputational risk, I -- my view is,
10   and doctrine, I would have a vote but
11   would not be a decisive vote.
12                       To the extent it involved
13   active ongoing violations of law and
14   someone disagreed with me, then I would
15   escalate above that line of business up
16   to CEO, up to board of directors, up to
17   and including resignation, if it didn't
18   resolve as I thought it should.
19              Q.       Okay.      And by CEO, you mean
20   CEO of JPMorgan, Jamie Dimon?
21              A.       If that were the case, yes.
22              Q.       Okay.      And who would -- what
23   would be the chain of escalating?                      So
24   before you got to Jamie Dimon, who would

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 1   you go to?
 2              A.       So, again, that wasn't this
 3   case.
 4              Q.       Yep.
 5              A.       But if I ever had a
 6   situation where I had said it's time to
 7   exit, the line of business said no, I
 8   would first go to Steve Cutler, who would
 9   have been my boss at the time.                    If Steve
10   Cutler disagreed and didn't convince me
11   otherwise, then I would push it up
12   further, probably to Jamie at that point.
13   And then if I still felt like I wasn't
14   getting heard and it was an active
15   ongoing issue, then I would go to the
16   board.
17

18

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 1   there was such a meeting, that there
 2   would be documents about it, correct?
 3              A.       I would expect there would
 4   be documents, yeah.
 5              Q.       Okay.      All right.         So the
 6   conclusion reports, "Further meetings
 7   held with Jes Staley to discuss LOB
 8   decision for re-approval."
 9                       Do you know what Jes
10   Staley's position was within JP -- within
11   JPMorgan as of January 7, 2011?
12              A.       Yes.
13              Q.       What was his position?
14              A.       He was the head of the
15   investment bank.
16              Q.       So why was Jes Staley being
17   consulted about Jeffrey Epstein when Jes
18   Staley was the head of the investment
19   bank?
20              A.       I can only say what I
21   understood and was told.                 I was told, as
22   I mentioned, that Epstein was Jes
23   Staley's client.
24              Q.       And it says, "Banker Paul

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 1               Q.        In any other context had
 2    anyone explained it to you?
 3               A.        Not -- in terms of why we
 4    didn't terminate?
 5               Q.        That's right.
 6               A.        Well, here, it was to refer
 7    to Jes, to have that discussion.
 8    Speaking with Jes at the later time
 9    was -- Jes's view was he didn't do it,
10    shouldn't have pled guilty, et cetera,
11    wasn't responsible for it.                   So that's --
12    that's what I was told, in the context of
13    the retention or decision not to
14    terminate, I should say.
15               Q.        Okay.      So in -- prior to
16    this meeting on January 7th, because the
17    conversation, I think, with Jes Staley
18    and Epstein was after this meeting.
19    Prior to this meeting, did you have an
20    understanding why Private Bank didn't
21    want to exit or hadn't exited Jeffrey
22    Epstein?
23               A.        I don't -- I don't recall
24    specifically, no.

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 1    transactions enlightening as compared to
 2    countless stories related to his
 3    escapades.         Lots of salon, lingerie
 4    shops, drug stores, NY, Palm Beach, and
 5    in St. Thomas (his place of residence).
 6    Plus lots of videos like Girls Gone Wild
 7    and some other shops not fit for my good
 8    Catholic upbringing.               The transactions
 9    are old, '05 to '08.               Besides frequent,
10    frequent spa like charges it has died
11    down.      Surprised she was never
12    subpoenaed."
13                         Have I read that correctly?
14               A.        Yes.
15               Q.        Based on your understanding
16    of human trafficking and the knowledge
17    you had gained through the initiative,
18    you recognized those charges may not have
19    been escapades but, potentially, human
20    trafficking, correct?
21                         MR. KRAUSE:         Objection.
22                         THE WITNESS:          Yeah, well, in
23               many respects it's inconsistent
24               with the types of things that we

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 1               saw in human trafficking.                  You
 2               know, having her own account,
 3               providing money, providing
 4               documented expenses.
 5                         The human trafficking
 6               enterprises that we were focused
 7               on were designed to traffic the
 8               individuals, keep them down, do --
 9               do the business and keep it off
10               the radar.
11                         This was different.              I mean,
12               it's -- it's pretty -- I don't
13               like the behavior.              But it's
14               different from the typology of
15               human trafficking that we had been
16               focused on.
17    BY MS. SINGER:
18               Q.        Right.      Those enterprises
19    that you were looking at on the retail
20    side, correct?
21               A.        No, no, no.         No.     The
22    accounts were on the retail side.                       It was
23    the enterprise of criminal enterprise,
24    right.

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 1    BY MS. SINGER:
 2               Q.        And you would -- you would
 3    agree that his relationship with MC2 is
 4    of concern, given Epstein's history of
 5    sexual conduct with girls?
 6                         MR. KRAUSE:         Objection.
 7                         THE WITNESS:          Again, it's
 8               hard.      Knowing what I know today,
 9               sure.      Back then I don't know that
10               that necessarily -- it's negative
11               media.       It made the allegation.                 I
12               would expect us to track it down,
13               pay attention to it, yeah.
14                         How significant it is, it's
15               hard to say at this point, looking
16               back.
17    BY MS. SINGER:
18               Q.        Quite clearly significant
19    enough that Maryanne is raising it in her
20    e-mail?
21               A.        Sure.      She raised it
22    ostensibly because that's the allegation
23    in the media.
24               Q.        So it says in Maryanne's

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 1    e-mail that Jes would be deciding the
 2    next steps, correct?
 3               A.        Yes.
 4               Q.        Was it your understanding
 5    that Jes Staley was the decisionmaker as
 6    to whether Jeff Epstein would be exited
 7    from the bank?
 8               A.        So, again, I was escalating
 9    my -- my position, my view, we should
10    exit Epstein, and told that Jes owned the
11    client relationship.
12                         So from that perspective, I
13    suppose he would be the one to help make
14    that decision or to make that decision.
15               Q.        Do you know whether anybody
16    else at the bank, John Duffy or Mary
17    Erdoes, whether any of them said that it
18    shouldn't be Jes Staley's decision?
19               A.        I'm not aware of anybody
20    saying that, no.
21               Q.        All right.         And then if we
22    turn to the front page of this e-mail.
23    This is the part of the chain from Phil
24    DeLuca to Nina Nichols, cc'ing you.                        And

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 1                         MR. KRAUSE:         Objection.
 2                         THE WITNESS:          I don't know
 3               unusual.        But it would -- you
 4               know, again, if you're looking
 5               back and saying what are the
 6               totality of facts, I would want to
 7               understand them under the
 8               circumstances, along with a lot of
 9               other information.
10    BY MS. SINGER:
11               Q.        And so you would expect that
12    there would be some inquiry or
13    investigation into whether there was a
14    business or other legitimate reason for
15    these payments, correct?
16                         MR. KRAUSE:         Objection.
17                         THE WITNESS:          So, again,
18               looking back and deciding all
19               relevant facts versus what was
20               looked at at the time, you know,
21               I'd want to -- presented with this
22               today, sure, I'd want to know.
23    BY MS. SINGER:
24               Q.        And, again, this is all

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 1    to Phil DeLuca back on January 10th?
 2               A.        To Phil, Nina, and Maryanne,
 3    yeah.
 4               Q.        Okay.      And just an
 5    understanding what you meant here.                       Is it
 6    fair to say that you were -- that
 7    modeling agencies was one piece of the
 8    puzzle, but that you would want to know
 9    more or -- tell me what you were saying.
10               A.        You know, so to frame the
11    entire context, one, I didn't need any of
12    this to recommend kicking him out of our
13    bank, period.
14                         What I was asking for, is
15    there anything else we can point to.                         Are
16    there any other linkages to ongoing
17    activity that could make this decision
18    even easier, point to more potentially
19    suspicious activity, that sort of thing.
20                         The modeling agency is just
21    that it didn't tell us anything, and our
22    ability as a bank to know what's really
23    going on in a modeling agency is
24    extremely limited.              Especially, he is a

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 1    when he -- when he responded.                    I don't
 2    recall anybody else articulating a view
 3    on exit at that time.
 4               Q.        Did Catherine Keating speak
 5    at all?
 6               A.        I don't remember her
 7    speaking.
 8               Q.        And you said Jes Staley
 9    responded.         What did he say?
10               A.        So Jes's response was, with
11    regard to the conviction, no, that was
12    not accurate, his lawyers are working to
13    get the conviction thrown -- or excuse
14    me, the plea, the plea, get the plea
15    thrown out, he didn't actually do that,
16    and that we should be talking to his
17    lawyers.
18               Q.        And how were things left --
19    and did you respond to Jes Staley, by the
20    way, when he said that?
21               A.        I don't remember specific
22    responses, but the takeaways were that we
23    would go and speak with Mr. Epstein's
24    attorney.

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 1               Q.        Do you know, or did you
 2    hear, that anybody had gone with Jes
 3    Staley when this conversation took place?
 4               A.        Again, no, I don't have any
 5    information on it.
 6               Q.        Is it surprising to you that
 7    the report was that Jeffrey Epstein had
 8    denied the allegations?
 9               A.        No.
10               Q.        Do you think that a
11    conversation between Jes Staley and
12    Jeffrey Epstein was likely to yield
13    useful information about whether Jeffrey
14    Epstein was engaged in human trafficking?
15                         MR. KRAUSE:         Objection.
16                         THE WITNESS:          So, look, at
17               the time, Jes was the lead banker,
18               right.       That was his client, and
19               it would not surprise -- it would
20               not be unusual to have a banker to
21               have a conversation with the
22               client, even something as unsavory
23               as this.
24                         So back then, versus what we

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 1    Page 13.        And do you see Jeffrey Epstein,
 2    Row 21, at the top of Page 13?
 3               A.        Yes.
 4               Q.        Okay.      And that entry is
 5    dated July 15, 2008, correct?
 6               A.        Yes.
 7               Q.        And it says here, "Catherine
 8    will go back to Jes to tell him we are
 9    uncomfortable with Epstein and do not
10    want to go to Cutler for approval."
11                         Have I read that correctly?
12               A.        Yes.
13               Q.        Do you understand JES to be
14    the acronym for Jes Staley?
15               A.        That is what I think it
16    means, yes.
17               Q.        And Catherine is presumably
18    Catherine Keating?
19               A.        That would be my assumption.
20               Q.        Do you know that Catherine
21    Keating -- do you know if Catherine
22    Keating went to Jes Staley and told him
23    that Private Bank was uncomfortable with
24    Epstein and didn't want to seek Steve

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 1               reputational component, would
 2               include this, but not as specific
 3               as that was the discussion and
 4               Steve said no change.                I don't --
 5               I don't know that that was
 6               accurate or right.              I can't -- I'm
 7               not aware of that, put it that
 8               way.
 9    BY MS. SINGER:
10               Q.        Were any -- was the
11    conversation that you had with Steve
12    Cutler, the one that you recall, did that
13    include any piece that was about legal
14    advice,


16    any of those issues, or was it -- was it
17    entirely on the reputational side?
18               A.        My recollection, it was
19    based on the reputational side, because
20    that's what my point was.
21               Q.        Did you ever reach out to
22    outside counsel about how to handle
23    Jeffrey Epstein's accounts?
24               A.        I don't believe I ever did,

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 1               Q.        Did anyone from JPMorgan's
 2    Private Bank ever, at any time, try to
 3    dissuade you from doing anything


 5               A.        Sorry, do that one again.
 6               Q.        Sure.
 7                         Did anyone from the Private
 8    Bank ever, at any time, try to dissuade
 9    you from doing anything


11               A.        No.     No.
12               Q.        Are you aware of any
13    instance where anyone from the Private
14    Bank tried to dissuade any of your
15    colleagues from doing anything


17               A.        No.
18               Q.        Did anyone from any of
19    JPMorgan's businesses ever, at any time,
20    try to dissuade you from filing a SAR
21    related, in any way, to a customer?
22               A.        No.
23               Q.        Are you aware of any
24    instance where anyone from any of

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 1    JPMorgan's line of business tried to
 2    dissuade any of your colleagues from
 3    filing a SAR relating to a customer?
 4               A.        No.
 5               Q.        At any point during your
 6    time at JPMorgan, did you ever come to
 7    believe that a SAR should be filed in a
 8    particular instance, but where you
 9    decided not to do so because the customer
10    was particularly large or valuable?
11               A.        No.
12               Q.        Are you aware of any
13    instance where anyone at JPMorgan thought
14    a SAR should be filed but failed to do so
15    because the client was particularly large
16    or valuable?
17               A.        No.
18               Q.        You testified earlier that
19    you never discussed
                                    between, I think it
21    was, 2008 and then your departure from
22    the bank.        Do you recall that?
23               A.        Yes.
24               Q.        Do you believe that Epstein,

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 1    to use your words, should go, because you
 2    believed he was engaging in continued
 3    illegal activity after his 2008 plea?
 4               A.        No.
 5

 6




19               Q.        Fair to say your focus was
20    on the reputational risk of keeping
21    Epstein


23    you'd have focused on that, had you
24    thought there was, yes?

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 1               A.        Yes.
 2               Q.




                       why were you discussing
                       w
 6    Epstein with others at JPMorgan?
 7               A.        Because I believed he should
 8    not be a client of the bank because of
 9    his plea and his reputational risk,
10    period.
11               Q.        Okay.      We've seen work
12    relating to Epstein by Maryanne Ryan.
13    You did or did not develop a good
14    understanding of Maryanne Ryan's
15    temperament and skills during your time
16    at JPMorgan?
17               A.        I did.
18               Q.        How skilled was Maryanne as
19    an investigator?
20               A.        One of the best.
21               Q.        You did or did not develop a
22    good understanding of Maryanne Ryan's
23    temperament through your time working
24    with her at JPMorgan?

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 1    DeLuca, with the most recent e-mail dated
 2    January 14, 2011.
 3                         Have I got that right?
 4               A.        Yes.
 5               Q.        Let's take a look at
 6    Ms. Ryan's e-mail to you on January 13th,
 7    I think in the beginning of the page.
 8                         Do any of Ms. Ryan's
 9    findings indicate that JPMorgan is
10    participating in a sex trafficking ring?
11                         MS. SINGER:         Objection.
12                         THE WITNESS:          That JPMorgan
13               is?
14    BY MR. GAIL:
15               Q.        Yeah.
16               A.        No.
17               Q.        Why not?
18                         MS. SINGER:         Objection.
19                         THE WITNESS:          Again, she
20               outlines what she finds, right.
21               It doesn't establish a link
22               between JPMorgan and the operation
23               by Epstein of a sex trafficking
24               ring through the bank, on its

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                         - Confidential               Page 26Eyes
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 1               face, in my opinion.
 2    BY MR. GAIL:
 3               Q.        Do any of Ms. Ryan's
 4    findings, as you see them there, indicate
 5    that as of 2011 Epstein was using the
 6    bank to perpetrate sex trafficking?
 7                         MS. SINGER:         Objection.
 8                         THE WITNESS:          So, again, the
 9               findings that she cites are old.
10               In 2004, et cetera, she notes
11               that.      And notes, though, the
12               activity not continuing,
13               necessarily.
14    BY MR. GAIL:
15               Q.        You testified that you had a
16    call with Ken Starr following your
17    conversation with Jes Staley.                    Do you
18    recall that?
19               A.        Yes.
20               Q.        Now, counsel for the U.S.
21    Virgin Islands referred to Epstein's
22    criminal defense attorney.                   What was Ken
23    Starr's position at the time you were
24    speaking to him?

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